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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK




  UNITED STATES OF AMERICA

               v.                          Criminal Action No. 23-490 (SHS)

    ROBERT MENENDEZ, et al.,                Document Electronically Filed

           Defendants.




DEFENDANTS’ JOINT PROPOSED EXAMINATION OF PROSPECTIVE JURORS
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                                        INTRODUCTION

       Defendants Senator Robert Menendez, Nadine Menendez, Wael Hana, and Fred Daibes

respectfully request, pursuant to Rule 24(a) of the Federal Rules of Criminal Procedure that the

Court include the following questions in its general voir dire of prospective jurors, without

prejudice to Defendant Senator Menendez’s forthcoming motion seeking a written jury

questionnaire, so that the defense may effectively exercise its challenges, both for cause and

peremptory. Defendants respectfully request that the Court conduct more detailed questioning if

a prospective juror’s answer suggests that further inquiry is appropriate. Defendants further

request that the Court conclude any such further inquiry by asking the prospective juror whether

the particular fact or circumstance would influence the juror in favor of or against either the

government or Defendants, or otherwise affect the juror’s ability to serve as a fair and impartial

juror in this case. Defendants respectfully request leave to supplement these requests in light of

ongoing events and pretrial deadlines, and the further discovery that is still being provided.


               Proposed Neutral Statement of the Case and General Principles

       [Neutral statement of the case to be proposed jointly by the parties.]



       You are instructed that the indictment is not evidence. It merely contains the government’s

charges against the defendants, Senator Robert Menendez, Nadine Menendez, Wael Hana, and

Fred Daibes, which the government has the burden of proving beyond a reasonable doubt at trial.

Senator Menendez, Mrs. Menendez, and Messrs. Hana and Daibes have pleaded not guilty to the

charges against them. They are presumed innocent. Senator Menendez, Mrs. Menendez, and

Messrs. Hana and Daibes have no obligation to produce any evidence, question any witness or do

anything else at trial. At all times, the government has the burden of producing evidence



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establishing guilt beyond a reasonable doubt as to Senator Menendez, Mrs. Menendez, and Messrs.

Hana and Daibes and as to each the count against them, and the legal elements of each count,

which I will explain to you before you begin your deliberations. If you are selected as a juror in

this case, it will be your duty to determine whether, based solely on the evidence presented at trial,

the government has proven its case against Senator Menendez, Mrs. Menendez, and Messrs. Hana

and Daibes beyond a reasonable doubt. You are required to make a determination of innocence or

guilt as to each of the defendants independently. Meaning that if you unanimously find that the

government has proven that one defendant is guilty of all the elements of a particular count, you

are not required to find that all the defendants are guilty of the same count.


                    Proposed Availability and Conflict Voir Dire Questions

   1. The trial of this case will last 6 to 8 weeks. Trial will be in session, generally speaking,
      Monday through [Friday] from [9:00] a.m. to [5:00] p.m. The trial will recess for national
      holidays, such as Memorial Day. Is there any reason why you cannot serve as a juror in
      this case because of the length of the trial or this schedule?

   2. Given the above schedule and length of trial, would it present a financial hardship for you
      to serve as a juror on this case? Any other type of hardship?

   3. Do you have any physical, medical, psychological, or other reason why you cannot serve
      as a juror in this case?

   4. Do you take any medications or have any condition that may interfere with your ability to
      concentrate?

   5. Do you understand English fluently?

   6. The defendants in this case are Senator Robert Menendez, Nadine Menendez, Wael Hana,
      and Fred Daibes. Do you know, or have you had any dealings, directly or indirectly, with
      any of these individuals? With any relative, friend or associate of these individuals?

   7. To your knowledge, do any of your relatives, friends, associates, or employers know any
      of the defendants?

   8. I will now read a list of the attorneys in this case. [Insert list of all counsel and former
      counsel.] Do you know any of these individuals? To your knowledge, have you, your
      family members, or your friends had any dealings with them?



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9. I will now read a list of names of individuals and locations that may be mentioned during
   the trial or people who may be witnesses in this case. [Insert list of names and places.] Do
   you know any of those people? To your knowledge, have you, your family members, or
   your friends had any dealings with them? Have you been to any of these places?



                   Proposed Juror Background Voir Dire Questions

10. What is your age?

11. Where did you grow up?

12. What is the highest level of education you have completed?

13. If you have earned a degree after high school, what was your major? Do you have any
    post-graduate degrees?

14. Are you presently a member of any church, synagogue, mosque, temple or other religious
    organization? If so, how often do you attend religious services?

15. Do you speak any foreign languages?

16. What is your current employment status?

17. What is your occupation (or prior occupation if retired or unemployed)? Who is your
    employer? And what do/did you do at work?

18. What is your current marital status? What is your spouse or domestic partner’s occupation
    and employer?

19. Do you have children? How many and what ages? Do they live with you? What is their
    occupation and place of employment?

20. What is your current town of residence? How long have you lived at your current address,
    and is your home owned or rented?

21. Who else lives in your household? For each not already addressed above, what is that
    person’s education level and current (or most recent) occupation?

22. Have you ever had prior jury service? If so, were you a trial juror or part of a grand jury?
    Was it a state or Federal case? Was it civil or criminal case? Did the jury reach a verdict,
    without telling us what it was? Is there anything about your prior jury experience that
    would prevent you from being fair in this case?

23. Have you, a family member, or close friend ever been involved in a lawsuit? What was
    the nature of the lawsuit? What was the result?

24. What are your hobbies, and what clubs and/or organizations do you belong to?


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25. What television shows do you typically watch?

26. Have you ever held a political office?

27. Have you, or has any close friend or relative, ever worked in law enforcement—for
    example, as a police officer; as a security guard; at a jail or prison; in a local, state, or
    Federal prosecutor’s office; or in some other law enforcement capacity? Have you had any
    contact with anyone in law, law enforcement, the justice system, or the courts that might
    influence your ability to evaluate this case?

28. Do you know, or have any association with, someone who works for the United States
    Attorney’s Office for the Southern District of New York, United States Attorney’s Office
    for the District of New Jersey, or Federal Bureau of Investigation? If yes, please identify
    the person, their relation to you, and where they work. Have you ever discussed the nature
    of their work? If so, generally what have you discussed?

29. Have you or any member of your immediate family been questioned by the police or other
    law enforcement authorities? If yes, what were the circumstances and what was your
    reaction? Is there anything about that experience that would not allow you to be fair and
    impartial in this case?

30. Have you or any member of your immediate family been arrested and or convicted of any
    crimes? If yes, what were the circumstances? Do you believe that you or your family
    member was treated fairly? Is there anything about that experience that would not allow
    you to be fair and impartial in this case?

31. Have you, a member of your family, or a close friend ever been the victim of a crime? If
    so, what were the circumstances? What was the resolution? Would that experience prevent
    you from being fair and impartial in this case?


                 Views on Certain Witnesses, Types of Evidence, Etc.

32. The witnesses in this case may include law enforcement officers. Would you be more
    likely to believe a witness because he or she is a member of law enforcement, such as the
    FBI? Would you be less likely to believe such a witness?

33. Some people believe that the government does not arrest and/or prosecute an innocent
    person. Do you believe this to be true?

34. Do you believe that if the federal government spends significant resources and time
    prosecuting someone, that person is probably guilty?

35. Do you believe that if someone is indicted, they are probably guilty?

36. Do you have any objection to the idea that a person accused of a crime is presumed to be
    not guilty? Would you have any difficulty requiring the government to bear the burden of



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    proof and assuring that if a person is not proven guilty beyond a reasonable doubt they
    must be acquitted?

37. Do you think that if someone is accused of a crime and they are innocent that they should
    testify in their own defense? Do you think that if they do not testify in their own defense
    they must be guilty? Would you hold it against them if they do not testify?


                   Proposed Juror Case-Specific Voir Dire Questions

38. At least one government witness has admitted to being involved in at least some of the
    crimes charged here. This person will be testifying pursuant to a cooperation agreement
    with the government that he hopes will result in more lenient treatment for him. Would
    you be more or less likely to believe that person is telling the truth based upon that
    cooperation agreement?

39. Some of the government witnesses have pled guilty to or been involved in committing
    crimes. Will you hold it against any of the Defendants if they associated with people who
    were committing crimes or had been arrested and accused of criminal conduct?

40. Have you ever contacted your congressperson or any other elected official? For what
    purpose? Were you satisfied with the experience and outcome?

41. What is your view of elected officials generally? How about U.S. Senators in particular?

42. Do you feel that elected officials should be held to a higher standard than the rest of the
    public?

43. If you use the internet, what are some of the websites you frequent?

44. Have you heard of Senator Menendez? Do you have any opinion about him?

45. Have you seen/heard/read any press accounts about this case? From what media outlet to
    you get that information? What did you watch/hear/read? Have you formed any opinions
    based on that?

46. Do you have any opinions about people from New Jersey in general? Do you think that
    because they are from New Jersey, they are more likely to break the law?

47. Is there anything about the nature of this case, including the fact that it involves accusations
    of bribery and corruption by an elected official and others, that would make it difficult for
    you to be a fair and impartial juror?

48. Have you ever donated money to a candidate running for office?

49. Have you ever worked or volunteered for a political campaign?




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50. Do you have an opinion about members of a particular political party – in this case the
    Democratic Party but any political party -- the government, or about elected officials in
    general, that might make it difficult for you to be a fair and impartial juror in this case?

51. Have you or any member of your family or close friend ever been employed by the
    government?

52. Do you or does any member of your family or a close friend have experience doing business
    before the federal government, or before any state or municipal government?

53. Do you generally exchange gifts with your friends?

54. Have you ever had business dealings internationally?         If so, please describe your
    experience.

55. Some of the individuals in this case were born in foreign countries or have contacts with
    individuals from other countries. Is there anything about that fact that would affect your
    ability to be a fair and impartial juror?

56. Do you have any strong feelings, positive or negative, about Arab people, i.e., people from
    Middle Eastern or North African countries?

57. Do you have any strong feelings, positive or negative about Egypt, the Egyptian
    government, or people of Egyptian origin? About Qatar?

58. Does anyone believe the immigration from the Middle Eastern or North African countries
    in the United States is good or bad?

59. Would you consider Egypt and the United States to be allies? Qatar and the United States?

60. Do you have any strong feelings, positive or negative, about Qatar, the Qatari government,
    or people of Qatari origin?

61. Have you heard of the Muslim Brotherhood? Do you have any views on the Muslim
    Brotherhood?

62. Do you have any opinions about Coptic Christians?

63. Do you have any knowledge about halal food? What is that knowledge? Do you know
    anything about how food is determined to be or not to be halal?

64. Do you have any views about people who live in the United States but do not speak English
    well and require an interpreter?

65. You may hear testimony in languages other than English, which will be translated by a
    sworn translator. Even if you speak that language, you must take the sworn translator’s
    translation as fact. Can you do that?

66. Are you an immigrant or a first-generation American citizen?


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67. Do you have any preconceived notion about how an immigrant or first-generation
    American citizen should assimilate?

68. Do you have any opinions on people who prefer to transact in cash or are more comfortable
    keeping cash in their home as opposed to in a bank account?

69. Do you have any opinions about wealthy individuals that might impact your ability to be a
    fair and impartial juror in a case in which one or more defendants may be shown to be
    wealthy or to have a preference for expensive or luxury items? Do you have any opinion
    as to whether someone who is considered “wealthy” is more or less likely to violate the
    law?

70. Have you ever purchased precious metals, such as a bar of silver or gold? Have any friends
    or members of your family made such purchases? Do you have opinions about people who
    purchase or gift gold bars?

71. Have you ever loaned money to a friend? What about tried to help a friend with an
    employment opportunity?

72. Are you comfortable being part of a trial which will likely receive a lot of media attention?
    Will you hold it against Defendants if reporters outside the courthouse attempt to speak
    with you or contact you?

73. Would you be able to follow the Court’s instruction that you must avoid reading, watching,
    or listening to news or other media reports concerning this case, including coverage of the
    case in social media?

74. If you knew that one of the defendants had previously been charged with an offense, would
    it make you more likely to think that this person had committed the crimes alleged here?

75. Is there any other matter that you believe is important to bring to the attention of the Court
    in determining whether you should serve as a juror in this case?




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Dated: April 5, 2024                              Respectfully submitted,



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